            Case 2:19-cr-00159-RSL Document 113 Filed 11/01/21 Page 1 of 2



1                                                           THE HONORABLE ROBERT S. LASNIK

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7
                                 UNITED STATES DISTRICT COURT
8
                               WESTERN DISTRICT OF WASHINGTON
9
                                              AT SEATTLE
10

11    UNITED STATES OF AMERICA,
12                      Plaintiff,
                                                         No. CR19-159-RSL
13          v.
                                                        NOTICE OF APPEARANCE
14
      PAIGE A. THOMPSON,
15
                        Defendant.
16

17   TO:            The Clerk of the Court

18   AND TO:        All Parties, through their counsel of record:

19          PLEASE TAKE NOTICE that Aravind Swaminathan of Orrick, Herrington & Sutcliffe

20   LLP hereby enters his appearance on behalf of third party Capital One Bank (USA),

21   N.A./Capital One Financial Corp. (“Capital One”) in the above-titled action and request that

22   notice of all further proceedings, except original process, be served upon the undersigned at

23   their addresses stated below.

24   Respectfully submitted this 1st day of November, 2021.

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     NOTICE OF APPEARANCE                                           ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                                           701 Fifth Avenue, Suite 5600
     Case No. CR19-159-RSL                                               Seattle, Washington 98104-7097
                                                                                  +1 206 839 4300
          Case 2:19-cr-00159-RSL Document 113 Filed 11/01/21 Page 2 of 2



1                                         ORRICK, HERRINGTON & SUTCLIFFE LLP
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3                                         s/Aravind Swaminathan
                                          Aravind Swaminathan, WSBA #33883
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                                          701 Fifth Avenue
5                                         Suite 5600
                                          Seattle, WA 98104-7097
6                                         Telephone: (206) 839-4300

7                                         Attorneys for Capital One

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